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                                    #:35140

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                           UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA​
                                   WESTERN DIVISION
 CHARLES LARRY CREWS, JR.,                      Case No.: 2:22-cv-01524-JLS-E
 Individually and on Behalf of All Others
 Similarly Situated,             [PROPOSED] ORDER GRANTING
                                 DEFENDANTS’ EX PARTE
              Plaintiff,         APPLICATION TO EXCEED WORD
                                 LIMITS FOR SUMMARY
       v.                        JUDGMENT MOTION
                                 ​
 RIVIAN AUTOMOTIVE, INC., ROBERT ​
 J. SCARINGE, CLAIRE MCDONOUGH, Judge: Hon. Josephine L. Staton
 JEFFREY R. BAKER, KAREN BOONE,
 SANFORD SCHWARTZ, ROSE          Magistrate Judge: Hon. Charles F. Eick
 MARCARIO, PETER KRAWIEC, JAY
 [PROPOSED] ORDER GRANTING DEFS’
 EX PARTE APPLICATION TO EXCEED WORD LIMITS​​        ​     ​    ​     ​     ​
 CASE NO. 2:22-cv-01524-JLS-E
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                                   #:35141

 FLATLEY, PAMELA THOMAS-
 GRAHAM, MORGAN STANLEY & CO.,
 LLC, GOLDMAN SACHS & CO., LLC,
 J.P. MORGAN SECURITIES LLC,
 BARCLAYS CAPITAL INC.,
 DEUTSCHE BANK SECURITIES INC.,
 ALLEN & COMPANY LLC, BOFA
 SECURITIES, INC., MIZUHO
 SECURITIES USA LLC, WELLS FARGO
 SECURITIES, LLC, NOMURA
 SECURITIES INTERNATIONAL, INC.,
 PIPER SANDLER & CO., RBC CAPITAL
 MARKETS, LLC, ROBERT W. BAIRD &
 CO. INC., WEDBUSH SECURITIES
 INC., ACADEMY SECURITIES INC.,
 BLAYLOCK VAN, LLC, CABRERA
 CAPITAL MARKETS LLC, C.L. KING &
 ASSOCIATES, INC., LOOP CAPITAL
 MARKETS LLC, SAMUEL A.
 RAMIREZ & CO., INC., SIEBERT
 WILLIAMS SHANK & CO., LLC, and
 TIGRESS FINANCIAL PARTNERS LLC,
                 Defendants.
                 ​




 [PROPOSED] ORDER GRANTING DEFS’
 EX PARTE APPLICATION TO EXCEED WORD LIMITS​​   ​     ​     ​     ​     ​
 CASE NO. 2:22-cv-01524-JLS-E
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       Having reviewed Defendants’ Ex Parte Application to Exceed Word Limits for
 Summary Judgment Motion, and good cause appearing, it is hereby ORDERED as
 follows:
            1.​ The word limit for Defendants’ omnibus summary judgment motion will be
               enlarged to 10,000 words, and their reply in support thereof will be enlarged
               to 5,000 words.


       IT IS SO ORDERED.




 Date: ________________​          ​     ​      ​                      ​   ​
 ​                                HON. JOSEPHINE L. STATON
 ​                                UNITED STATES DISTRICT JUDGE




                                              1
 [PROPOSED] ORDER GRANTING DEFS’ ​   ​
 EX PARTE APPLICATION TO EXCEED WORD LIMITS​​        ​      ​     ​       ​     ​
 CASE NO. 2:22-cv-01524-JLS-E
